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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________________

J. MARK LANE,
Larchmont, NY 10538, and
                                                             COMPLAINT
JAMES SEARS
Irving, NY 10533,                                            Civil Action No.:

                    Plaintiffs,

             v.

LETITIA JAMES, in her official capacity as
Attorney General of the State of New York
Office of the Attorney General
The Capitol
Albany, NY 12224

STEVEN A. NIGRELLI, in his official capacity as
Superintendent of the New York State Police
1220 Washington Avenue
Building 22
Albany, NY 12226, and

MIRIAM E. ROCAH, in her official capacity as
District Attorney for the County of Westchester, New York
111 Dr. Martin Luther King, Jr. Blvd.,
White Plains, New York 10601.




                  Defendants.
_________________________________________________




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              J. Mark Lane and James Sears, by and through counsel of record, bring this

complaint against Defendants, New York officials responsible for enforcing a state law

infringing the right of law-abiding, peaceable citizens to keep and bear commonly possessed

firearms for defense of self and family and for other lawful purposes, and allege as follows:

                                     INTRODUCTION

       1.     The Second Amendment to the United States Constitution guarantees “the

right of the people to keep and bear Arms.” U.S. CONST. amend. II. Under this

constitutional provision, Plaintiffs Sears, Lane, and other law-abiding, responsible New

Yorkers, have a fundamental, constitutionally guaranteed right to keep common firearms

for defense of self and family and for other lawful pursuits.

       2.     But Defendants have enacted and enforced a flat prohibition on the

possession, manufacture, transport, or disposal of many common semiautomatic firearms—

tendentiously labeled “assault weapons”—by ordinary citizens, making it criminal for law-

abiding, peaceable citizens to exercise their fundamental right to keep and bear such arms.

N.Y. PENAL LAW §§ 265.00(22), 265.02(7), 265.10.

       3.     Defendants’ enforcement of New York’s ban denies individuals who reside in

New York, including Plaintiffs, their fundamental, individual right to keep and bear

common arms.

       4.     The Second Circuit previously upheld the laws at issue against a Second

Amendment challenge. New York State Rifle and Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242, 243

(2d. Cir. 2015). The recent Supreme Court case New York State Rifle and Pistol Association v.

Bruen, however, abrogated that decision and no governing caselaw forecloses Plaintiffs’

claims. 597 U.S. ---, 142 S. Ct. 2111 (2022).



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                                JURISDICTION & VENUE

       5.     This Court has subject-matter jurisdiction over all claims for relief pursuant to

28 U.S.C. §§ 1331 and 1343.

       6.     Plaintiffs seek remedies under 28 U.S.C. §§ 1651, 2201, and 2202 and 42

U.S.C. §§ 1983 and 1988.

       7.     Venue lies in this Court under 28 U.S.C. § 1391(b)(1) and (b)(2).

                                          PARTIES

       8.     Plaintiff J. Mark Lane is a natural person, a resident of Westchester County,

New York, an adult over the age of 21, a citizen of the United States, and legally eligible

under federal and state law to possess and acquire firearms.

       9.     Plaintiff James Sears is a natural person, a resident of Westchester County,

New York, an adult over the age of 21, a citizen of the United States, and legally eligible

under federal and state law to possess and acquire firearms.

       10.    Defendant Letitia James is the Attorney General of New York. As Attorney

General, she exercises, delegates, or supervises all the powers and duties of the New York

Department of Law, which is responsible for executing and enforcing New York’s laws and

regulations governing the possession of firearms. Her official address is Office of the

Attorney General, The Capitol, Albany, NY 12224-0341. She is being sued in her official

capacity.

       11.    Defendant Steven A. Nigrelli is the Superintendent of the New York State

Police. As Superintendent, subject to the oversight and supervision of the Governor, he

exercises, delegates, or supervises all the powers and duties of the New York Division of

State Police, including executing and enforcing New York’s laws and regulations governing



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the possession of firearms. His official address is New York State Police Office of the

Superintendent, Bldg. 22, 2220 Washington Ave, Albany, NY 12226. He is being sued in

his official capacity.

            12.    Defendant Miriam E. Rocah is the District Attorney for Westchester County.

As District Attorney, Rocah “is the prosecutorial officer with the responsibility to conduct

all prosecutions for crimes and offenses cognizable by the courts of the county in which

[she] serves.” People v. Di Falco, 44 N.Y.2d 482, 487, 377 N.E.2d 732, 735 (1978). Her

official address is Westchester County District Attorney, 111 Dr. Martin Luther King, Jr.

Blvd., White Plains, New York 10601. She is being sued in her official capacity.

                                    FACTUAL ALLEGATIONS

I.          NEW YORK’S UNCONSTITUTIONAL SEMIAUTOMATIC FIREARM BAN

            13.    New York tendentiously applies the inaccurate label of “assault weapon”1 to

many semiautomatic2 firearms in common use and criminalizes their possession

(“Semiautomatic Firearm Ban”). N.Y. PENAL LAW §§ 265.00(22)(a)-(f); 265.02(7), 265.10,

70.02.

            14.    Specifically, New York defines “assault weapon” as:

(a) a semiautomatic rifle that has an ability to accept a detachable magazine and has at least

one of the following characteristics:

             (i)   a folding or telescoping stock;


     1
         N.Y. PENAL LAW § 265.00(22).
     2
    “Semiautomatic” means “any repeating rifle, shotgun or pistol, regardless of barrel or overall
length, which utilizes a portion of the energy of a firing cartridge or shell to extract the fired
cartridge case or spent shell and chamber the next round, and which requires a separate pull of the
trigger to fire each cartridge or shell.” N.Y. PENAL LAW § 265.00(21). See also Staples v. United
States, 511 U.S. at 602 n.1.



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        (ii)   a pistol grip that protrudes conspicuously beneath the action of the weapon;

       (iii)   a thumbhole stock;

       (iv)    a second handgrip or a protruding grip that can be held by the non-trigger

               hand;

        (v)    a bayonet mount;

       (vi)    a flash suppressor, muzzle break, muzzle compensator, or threaded barrel

               designed to accommodate a flash suppressor, muzzle break, or muzzle

               compensator;

       (vii)   a grenade launcher; or

(b) a semi-automatic shotgun that has at least one of the following characteristics:

         (i)   a folding or telescoping stock;

        (ii)   a thumbhole stock;

       (iii)   a second handgrip or a protruding grip that can be held by the non-trigger

               hand;

       (iv)    a fixed magazine capacity in excess of seven rounds;

        (v)    an ability to accept a detachable magazine; or

(c) a semi-automatic pistol that has an ability to accept a detachable magazine and has at

least one of the following characteristics:

         (i)   a folding or telescoping stock;

        (ii)   a thumbhole stock;

       (iii)   a second handgrip or a protruding grip that can be held by the non-trigger

               hand;

       (iv)    capacity to accept an ammunition magazine that attaches to the pistol outside




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               of the pistol grip;

        (v)    a threaded barrel capable of accepting a barrel extender, flash suppressor,

               forward handgrip, or silencer;

       (vi)    a shroud that is attached to, or partially or completely encircles, the barrel and

               that permits the shooter to hold the firearm with the non-trigger hand without

               being burned;

       (vii)   a manufactured weight of fifty ounces or more when the pistol is unloaded,

               or;

      (viii)   a semi-automatic version of an automatic rifle, shotgun, or firearm;

(d) a revolving cylinder shotgun;

(e) a semiautomatic rifle, a semiautomatic shotgun or a semiautomatic pistol or weapon

defined by [New York Penal Law § 265.00(22)(e)(v) as that section read under] the laws of

[2000 and otherwise lawfully possessed] prior to September [14, 1994]; or

(f) a semiautomatic rifle, a semiautomatic shotgun or a semiautomatic pistol or weapon

defined [above] in [sub]paragraph (a), (b), or (c) [and] possessed prior to [January 15, 2013].

N.Y. PENAL LAW § 265.00(22)(a)-(f).

       15.     New York categorically prohibits possession of all such firearms. New York

State Rifle and Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242 (2015).

       16.     Violation of New York’s Semiautomatic Firearm Ban is a Class D felony

punishable by up to seven years in prison and a fine between $2,000 and $10,000. N.Y.

PENAL LAW §§ 265.02(7), 265.10, 70.02.




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II.       NEW YORK BANS RIFLES IN COMMON USE

          17.     Semiautomatic firearms “traditionally have been widely accepted as lawful

possessions,” e.g., Staples v. United States, 511 U.S. 600, 612 (1994) (so categorizing an AR-15

semiautomatic rifle), and the Second Circuit has previously held that “[e]ven accepting the

most conservative estimates” firearms banned by New York law “are ‘in common use’ as

that term was used in Heller.” Cuomo, 804 F.3d at 255.

          18.     Rifles built on an “AR-style” platform are a paradigmatic example of the type

of arm New York bans (“AR” is short for ArmaLite Rifle; ArmaLite originally designed the

platform).

          19.     AR-15 rifles are among the most popular firearms in the nation, and they are

owned by millions of Americans. A recent survey of gun owners indicates that about 24.6

million Americans have owned up to 44 million AR-15s or similar modern sporting rifles,

with the “median owner” identified as owning a single rifle. William English, 2021 National

Firearms Survey: Updated Analysis Including Types of Firearms Owned at 1, 33 (May 13, 2022).3

          20.     And according to industry sources, approximately 20% of all firearms sold in

recent years were rifles of the type banned by New York. NAT’L SHOOTING SPORTS

FOUND., INC., Firearms Retailer Survey Report, 2021 at 9. In 2020, more than 20 million

adults participated in target or sport shooting with semiautomatic rifles like those banned in

New York. NAT’L SHOOTING SPORTS FOUND., INC., Sport Shooting Participation in the U.S.

in 2020 at iii.




3
    This citation, and others below that are underscored, are hyperlinks to web-based copies.



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       21.    The banned semiautomatic firearms, like all other semiautomatic firearms,

fire only one round for each pull of the trigger. They are not machine guns. Staples, 511

U.S. at 602 n.1. What is more, the designation “assault weapons” is a complete misnomer,

“developed by anti-gun publicists” in their crusade against lawful firearm ownership.

Stenberg v. Carhart, 530 U.S. 914, 1001 n.16 (2000) (Thomas, J., dissenting).

       22.    A comparison to firearms used by the military demonstrates just how

disingenuous the “assault weapon” moniker is. While an AR-15 can only fire as often as a

person can pull its trigger, an M249 light machine gun, commonly used by the U.S.

military, can fire between 750 and 1,000 rounds per minute. FAS Military Analysis

Network, Squad Automatic Weapon (SAW), M249 Light Machine Gun. “Heavy” machine guns

like the M61 series can fire significantly larger caliber ammunition (20mm) much faster yet

(6,000 rounds per minute). FAS Military Analysis Network, M61A1/M61A2 20mm

Automatic Gun.

       23.    Unlike these “weapons of war,” central among the common uses of

semiautomatic firearms banned in New York is self-defense in the home. A majority of

owners of AR-style rifles owned their firearms for self-defense. English, 2021 National

Firearms Survey, supra, at 34 (61.9% owned for home defense; 34.6% owned for defense

outside the home).

       24.    An AR-15 rifle is an optimal firearm to rely on in a self-defense encounter.

Most AR-style firearms are chambered for 5.56x45mm NATO (similar to .223 Remington)

ammunition. This is a relatively inexpensive and very common cartridge that is particularly

well suited for home-defense purposes because it has sufficient stopping power in the event a

home intruder is encountered, but loses velocity relatively quickly after passing through a



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target and other objects, thus decreasing the chance that an errant shot will strike an

unintended target. Although most pistol rounds have less muzzle velocity than a

5.56x45mm NATO round, they have greater mass, maintain velocity after passing through

walls and other objects, and pose substantially greater risk to unintended targets in the

home.

        25.   Like the AR-15 generally, the specific features banned by New York aid home

defense. A flash suppressor, for example, not only reduces the chances that a home-invader

will identify his victim’s position; it also protects a homeowner against momentary

blindness when firing in self-defense. David B. Kopel, Rational Basis Analysis of “Assault

Weapon” Prohibition, 20 J. Contemp. L. 381, 397 (1994).

        26.   Folding and telescoping stocks increase the likelihood of successful home

defense by permitting safe storage of defense instruments in accessible spaces and making

the rifle maneuverable in confined spaces. Id. at 398–99. A telescoping stock also allows a

firearm to be better fitted to an individual shooter, thereby enhancing the ability of an

individual to use the firearm safely and effectively.

        27.   Pistol grips improve accuracy and reduce the risk of stray shots by stabilizing

the firearm while firing from the shoulder. Id. at 396.

        28.   Most common semiautomatic firearms, including those banned under New

York law, can accept a detachable magazine. Detachable magazines not only assist law-

abiding shooters reload their weapon in stressful defense circumstances, but in the case of

some platforms, including the common AR-15, they are required to safely and quickly

remedy malfunctions.




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        29.     Encounters with criminal intruders in the home are not uncommon. For

instance, according to a report by the U.S. Department of Justice, Bureau of Justice

Statistics, household members are present for almost a third of all burglaries and become

victims of violent crimes in more than a quarter of those cases. Studies on the frequency of

defensive gun uses in the United States have determined that there are up to 2.5 million

instances each year in which civilians use firearms to defend themselves or their property.

Gary Kleck, Marc Gertz, Armed Resistance to Crime: The Prevalence and Nature of Self-Defense

with a Gun, 86 J. of Crim. L. & Criminology 150, 164 (1995); see also English, National

Firearms Survey, supra at 9 (finding 31.1% of firearms owners, or approximately 25.3 million

adult Americans, have used a firearm in self-defense and there are 1.67 defensive firearm

uses a year).

        30.     Other common, lawful uses of the banned firearms are hunting and sport. At

least a third of all gun-owners use a firearm for hunting or sport shooting, and recreational

target shooting is a top reason for owning semiautomatic rifles like those banned by New

York.

        31.     Here again, the banned features of semiautomatic firearms—mischaracterized

as assault weapons—serve lawful purposes. Folding and telescoping stocks, for example,

allow for safe transportation, including in a hiking pack, an ATV, or a boat. These stocks

also ease carrying over long distances while hunting.

        32.     Both telescoping stocks and protruding grips open hunting and sport-shooting

to those for whom recoil poses a challenge. Detachable magazines have the same benefits

in hunting and sport-shooting as they do in home defense—improved reloading and




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remedying of malfunctions. And flash suppressors promote accuracy in target-shooting and

hunting (especially at dawn).

       33.    By contrast, one use that is not common for so-called “assault weapons” is

crime. According to a widely cited 2004 study, these arms “are used in a small fraction of

gun crimes.” Christopher Koper, Updated Assessment of the Federal Assault Weapons Ban:

Impacts on Gun Markets and Gun Violence, 1994-2003, U.S. Dep’t of Just. (2004). This has long

been true. Gary Kleck, Targeting Guns: Firearms and Their Control 112 (1997) (evidence

indicates that “well under 1% [of crime guns] are ‘assault rifles.’”). Indeed, according to

FBI statistics in 2019 there were only 364 homicides known to be committed with rifles of

any type, compared to 6,368 with handguns, 1,476 with knives or other cutting instruments,

600 with personal weapons (hands, feet, etc.) and 397 with blunt objects. Expanded

Homicide Table 8, Crime in the United States (FBI 2019).

       34.    The arms banned as “assault weapons” under New York’s Semiautomatic

Firearm Ban are not both dangerous and unusual.

       35.    The arms banned as “assault weapons” under New York’s Semiautomatic

Firearm Ban are common in all respects: 1) They are common categorically, as they are all

functionally semiautomatic in their operation; 2) they are common characteristically, as

they are all popular configurations of arms (e.g., rifles, shotguns, handguns) with varying

barrel lengths and common characteristics like pistol grips and the like; and 3) they are

common jurisdictionally, lawful to possess and use in the vast majority of states now and

throughout relevant history for a wide variety of lawful purposes including self-defense,

proficiency training, competition, recreation, hunting, and collecting.




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        36.   There is no constitutionally relevant difference between a semiautomatic

handgun, shotgun, and rifle. While some exterior physical attributes may differ—wood vs.

metal stocks and furniture, the number and/or location of grips, having a bare muzzle vs.

having muzzle devices, different barrel lengths, etc.—they are, in all relevant respects, the

same.

        37.   Indeed, they are all common firearms that insert cartridges into a firing

chamber, burn powder to expel projectiles through barrels, and are functionally

semiautomatic in nature. They are all common firearms that have the same cyclical rate of

fire: one round fired per pull of the trigger pull until ammunition is exhausted or the firearm

or feeding device malfunctions. They are all common under the same jurisdictional

analysis. And they are all subject to the same constitutionally relevant history under which

New York’s Semiautomatic Firearm Ban is clearly and categorically unconstitutional.

        38.   The statute’s ban on acquiring, purchasing, receiving, transporting,

possessing, and lawfully using an “assault weapon” is, therefore, a ban on keeping and

bearing semiautomatic firearms that are commonly possessed and used for lawful purposes,

including self-defense in the home.

III.    THE EFFECT ON PLAINTIFFS

        39.   Plaintiff J. Mark Lane lives in Westchester County, New York. Lane intends

and desires to exercise his right to keep and bear a so-called “assault weapon,” for lawful

purposes, especially home defense and target shooting. Specifically, if allowed, Lane would

purchase (and would have already purchased) a Springfield Armory Saint rifle, which is an

AR-15 style rifle capable of accepting a detachable magazine, with a telescoping stock,

pistol grip, and muzzle device. Lane would purchase this rifle now, if not prohibited. But




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this rifle, and others with these common features, are illegal under New York’s

Semiautomatic Firearm Ban. Lane would immediately acquire, purchase or receive, and

lawfully use this firearm (and would have already), were it not for Defendants’ enforcement

of New York’s Semiautomatic Firearm Ban. In light of Defendants’ actions, including the

threat of arrest, confiscation, prosecution, fine, and imprisonment, Lane continues to refrain

from acquiring, possessing, and lawfully using a Springfield Armory Saint rifle, or any

similarly prohibited firearm, for self-defense and other lawful purposes.

       40.    Plaintiff James Sears lives in Westchester County, New York. Sears intends

and desires to exercise his right to keep and bear a so-called “assault weapon,” for lawful

purposes, especially home defense and target shooting. Specifically, if allowed, Sears would

purchase (and would have already purchased) an LMT MARS-L 5.56 rifle, which is an AR-

15 style rifle capable of accepting a detachable magazine, with a telescoping stock, pistol

grip, and muzzle device. Sears would purchase this rifle now, as well as other commonly

owned firearms, if not prohibited by the Semiautomatic Firearm Ban. But this rifle, and

others with these common features, are illegal under New York’s Semiautomatic Firearm

Ban. Sears would immediately acquire, purchase or receive, and lawfully use an LMT

MARS-L 5.56 rifle (and would have already), were it not for Defendants’ enforcement of

New York’s Semiautomatic Firearm Ban. In light of Defendants’ actions, including the

threat of arrest, confiscation, prosecution, fine, and imprisonment, Sears continues to refrain

from acquiring, possessing, and lawfully using an LMT MARS-L 5.56 rifle, or any similarly

prohibited firearm, for self-defense and other lawful purposes.




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IV.    DEFENDANTS’ LAWS AND REGULATIONS
       VIOLATE THE SECOND AMENDMENT.

       41.     The Second Amendment to the United States Constitution provides: “A well-

regulated Militia being necessary to the security of a free State, the right of the people to

keep and bear Arms shall not be infringed.”

       42.     The Fourteenth Amendment to the United States Constitution provides: “No

state shall make or enforce any law which shall abridge the privileges or immunities of

citizens of the United States; nor shall any state deprive any person of life, liberty, or

property, without due process of law; nor deny to any person within its jurisdiction the equal

protection of the laws.”

       43.     The Second Amendment is fully applicable to the States through the

Fourteenth Amendment. McDonald v. City of Chicago, 561 U.S. 742, 750 (2010); id. at 805

(Thomas, J., concurring).

       44.     “The very enumeration of the right [to keep and bear arms] takes out of the

hands of government—even the Third Branch of Government—the power to decide on a

case-by-case basis whether the right is really worth insisting upon.” District of Columbia v.

Heller, 554 U.S. 570, 634 (2008) (emphasis in original).

       45.     “Constitutional rights are enshrined with the scope they were understood to

have when the people adopted them, whether or not future legislatures or (yes) even future

judges think that scope too broad.” Id. at 634–35.

       46.     For this reason, “[j]ust as the First Amendment protects modern forms of

communications, and the Fourth Amendment applies to modern forms of search, the

Second Amendment extends, prima facie, to all instruments that constitute bearable arms,

even those that were not in existence at the time of the founding.” Id. at 582 (citations


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omitted).

       47.     When the Second Circuit upheld the constitutionality of New York’s

Semiautomatic Firearm Ban in 2015, it relied on a two-step test that was “one step too

many.” Bruen, 142 S. Ct. at 2127; see also Cuomo, 804 F.3d at 253. Because the Second

Circuit concluded that the so-called “assault weapons” at issue here are in common use, it

should have held that the ban on ownership of such firearms violates the Second

Amendment. Cuomo, 804 F.3d at 254; see also Bruen, 142 S. Ct. at 2127.

       48.     In order to justify a law that affects Plaintiffs’ Second Amendment rights, the

government bears the affirmative burden of proving that the regulation is consistent with our

nation’s history and tradition. Bruen, 142 S. Ct. at 2127. As a matter of law, any regulation

that bans firearm ownership in common use for lawful purposes like self-defense is

inconsistent with this nation’s history and tradition, and thus violates the Second

Amendment. Id. at 2128; Heller, 554 U.S. at 624.

       49.     The firearms at issue in this case are the sorts of bearable arms in common use

for lawful purposes that law-abiding people possess at home by the millions. And they are,

moreover, exactly what they would bring to service in militia duty, should such be

necessary. In Heller, the Supreme Court held that the Second Amendment “guarantee[s] the

individual right to possess and carry weapons in case of confrontation.” Id. at 592.

       50.     When seconds count, and the police are minutes or hours away, if they come

at all—they certainly have no obligation to, see, e.g., Town of Castle Rock v. Gonzales, 545 U.S.

748 (2005)—the People have a constitutional right to make use of common firearms for

effective self-defense and not to be disarmed by the enforcement of the Semiautomatic

Firearm Ban.



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       51.    Assuming ordinary citizens are not disqualified from exercising Second

Amendment rights, the State must permit them to keep and bear the common firearms

banned by New York for lawful purposes.

       52.    The Second Amendment is an “unqualified command.” Bruen, 142 S. Ct. at

2130. The Second Amendment does not accommodate the use of any “means-ends

scrutiny” of the kind that the Second Circuit applied when it upheld the constitutionality of

New York’s laws. Id.; Cuomo, 804 F.3d at 253. When a law—like New York’s

Semiautomatic Firearm Ban at issue here—prevents citizens from owning firearms that are

in common use for lawful purposes, then the law violates the Second Amendment. Bruen,

142 S. Ct. at 2129–30. It cannot be justified by reference to any countervailing

governmental interest. Id.

       53.    The right to keep and bear common firearms guaranteed under the Bill of

Rights cannot be subjected to laws and regulations that prohibit ordinary, law-abiding

citizens from keeping and bearing common firearms—particularly when such schemes place

these citizens under constant threat of criminal sanction for violating them.

       54.    The enshrinement of the right to keep and bear arms in the Second

Amendment has necessarily taken such “policy choices off the table.” Heller, 554 U.S. at

636.

       55.    Yet, this is precisely how New York’s Semiautomatic Firearm Ban operates,

completely shutting out ordinary, law-abiding citizens from exercising their constitutional

rights in New York.




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                                        COUNT ONE

   42 U.S.C. § 1983 Action for Deprivation of Plaintiffs’ Rights under the Second and
               Fourteenth Amendments of the United States Constitution

       56.    Plaintiffs reiterate paragraphs one through 55 as if fully set forth herein.

       57.    There is an actual and present controversy between the parties.

       58.    The Second and Fourteenth Amendments to the United States Constitution

guarantee ordinary, law-abiding citizens of states their fundamental right to keep and bear

arms, both in the home and in public.

       59.    The keeping and bearing of arms is a fundamental right that is necessary to

our system of ordered liberty, and is additionally a privilege and immunity of citizenship,

protected by the Fourteenth Amendment.

       60.    The right to keep and bear arms includes, but is not limited to, the right of

individuals to acquire, purchase, receive, transport, possess, and lawfully use common

firearms for all lawful purposes, including self-defense.

       61.    New York’ bans firearms that are commonly used for lawful purposes,

grounding this ban on an arbitrary combination of features that do not make a firearm more

powerful or dangerous. No adequate basis exists to restrict such firearms, which fire only

once per trigger pull, like all other semiautomatic firearms.

       62.    42 U.S.C. § 1983 creates a cause of action against state actors who deprive

individuals of federal constitutional rights under color of state law.

       63.    Defendants, individually and collectively, and under color of state law at all

relevant times, have deprived the fundamental constitutional rights of persons in New York,

including Plaintiffs Lane and Sears, through enforcement of the Semiautomatic Firearm

Ban.


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       64.    For all the reasons asserted herein, Defendants have acted in violation of, and

continue to act in violation of, 42 U.S.C. § 1983, compelling the relief Plaintiffs seek.

                                   PRAYER FOR RELIEF

       65.    WHEREFORE, Plaintiffs respectfully pray for the following relief:

              a.       A declaratory judgment that Plaintiffs Lane and Sears have a

       fundamental right to keep and bear arms, including by acquiring, purchasing,

       receiving, transporting, possessing, and lawfully using common semiautomatic

       firearms banned in New York for all lawful purposes including self-defense, as

       guaranteed under the Second and Fourteenth Amendments to the United States

       Constitution;

              b.       A declaratory judgment that New York’s ban on common

       semiautomatic firearms, including N.Y. Penal Law §§ 265.00(22)(a)-(f); 265.02(7),

       265.10, 70.02 and all related regulations, policies, and/or customs designed to

       enforce or implement the same, prevent Plaintiffs Lane and Sears from exercising

       their fundamental right to keep and bear arms, including by acquiring, purchasing,

       receiving, transporting, possessing, and lawfully using common semiautomatic

       firearms banned under New York law for all lawful purposes including self-defense,

       as guaranteed under the Second and Fourteenth Amendments to the United States

       Constitution;

              c.       A permanent injunction prohibiting each Defendant, and Defendants’

       respective employees, officers, agents, representatives, and all those acting in concert

       or participation with them, from enforcing New York’s ban on semiautomatic

       firearms and all related regulations, policies, and/or customs designed to enforce or




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       implement the same;

              d.     Attorney’s fees, expert fees, and costs pursuant to 42 U.S.C. § 1988,

       and any other applicable law; and,

              e.     Any and all other and further legal and equitable relief against

       Defendants as necessary to effectuate the Court’s judgment, or as the Court otherwise

       deems just and proper.




 Dated: Buffalo, New York
        December 30, 2022

                                                PHILLIPS LYTLE LLP
 Cody J. Wisniewski, Esq.*
 FIREARMS POLICY COALITION, INC.
 Attorneys for Plaintiffs                       By: /s/ Nicolas J. Rotsko
 J. Mark Lane and James Sears                          Nicolas J. Rotsko
 5550 Painted Mirage Rd.                               Sam M. Williams
 Ste. 320                                       Attorneys for Plaintiffs
 Las Vegas, NV 89149                            J. Mark Lane and James Sears
 (916) 378-5785                                 One Canalside
 cwi@fpchq.org                                  125 Main Street
                                                Buffalo, New York 14203-2887
                                                Telephone No. (716) 847-8400
 Adam J. Kraut, Esq.*                           nrotsko@phillipslytle.com
 SECOND AMENDMENT                               swilliams@phillipslytle.com
 FOUNDATION
 Attorneys for Plaintiffs
 J. Mark Lane and James Sears
 12500 NE 10th Place
 Bellevue, WA, 98005
 1-800-426-4302
 akraut@saf.org



*App. to appear pro hac vice forthcoming




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REV.
10/01/2020             The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                       other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                       United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                               DEFENDANTS
J. Mark Lane, and                                          Letitia James, in her official capacity as Attorney General of the State of New York,
James Sears                                                Steven A. Nigrelli, in his official capacity as Superintendent of the New York State Police, and
                                                           Miriam E. Rocah, in her official capacity as District Attorney for the County of Westchester, New York
ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                      ATTORNEYS (IF KNOWN)
Nicolas J. Rotsko
Phillips Lytle LLP, One Canalside, 125 Main St., Buffalo, NY 14203-2886
(716) 847-5467
CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                        (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

28 U.S.C. § 1343; 28 U.S.C. §§ 1651, 2201, and 2202; 42 U.S.C. §§ 1983 and 1988; Challenge to New York Statute under U.S. Constitution

                                                                                                                                                  Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                    ElYes ❑
If yes, was this case Vol.       Invol.      Dismissed. No      ❑ Yes ❑ If yes, give date _______________________ & Case No. ______________________
IS THIS AN INTERNATIONAL ARBITRATION CASE?           No              Yes

(PLACE AN [x] IN ONE BOX ONLY)                                     NATURE OF SUIT
                              TORTS                                                                                      ACTIONS UNDER STATUTES



CONTRACT                      PERSONAL INJURY              PERSONAL INJURY            FORFEITURE/PENALTY                 BANKRUPTCY                      OTHER STATUTES
                                                           [ ] 367 HEALTHCARE/
                                                           PHARMACEUTICAL PERSONAL [ ] 625 DRUG RELATED                                                  [ ] 375 FALSE CLAIMS
[ ] 110     INSURANCE         [ ] 310 AIRPLANE                                                                           [ ] 422 APPEAL
[ ] 120     MARINE            [ ] 315 AIRPLANE PRODUCT     INJURY/PRODUCT LIABILITY                                               28 USC 158             [ ] 376 QUI TAM
                                                                                       SEIZURE OF PROPERTY
[ ] 130     MILLER ACT                 LIABILITY           [ ] 365 PERSONAL INJURY           21 USC 881                  [ ] 423 WITHDRAWAL              [ ] 400 STATE
[ ] 140     NEGOTIABLE        [ ] 320 ASSAULT, LIBEL &              PRODUCT LIABILITY                                             28 USC 157                      REAPPORTIONMENT
                                                                                      [ ] 690 OTHER
            INSTRUMENT                 SLANDER             [ ] 368 ASBESTOS PERSONAL                                                                     [ ] 410 ANTITRUST
[ ] 150     RECOVERY OF       [ ] 330 FEDERAL                       INJURY PRODUCT                                                                       [ ] 430 BANKS & BANKING
            OVERPAYMENT &              EMPLOYERS'                   LIABILITY          PROPERTY RIGHTS                                                   [ ] 450 COMMERCE
            ENFORCEMENT                LIABILITY                                                                                                         [ ] 460 DEPORTATION
            OF JUDGMENT       [ ] 340 MARINE                PERSONAL PROPERTY            [ ] 820 COPYRIGHTS     [ ] 880 DEFEND TRADE SECRETS ACT         [ ] 470 RACKETEER INFLU-
[ ] 151     MEDICARE ACT      [ ] 345 MARINE PRODUCT                                     [ ] 830 PATENT                                                           ENCED & CORRUPT
[ ] 152     RECOVERY OF                LIABILITY           [ ] 370 OTHER FRAUD           [ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION                          ORGANIZATION ACT
            DEFAULTED         [ ] 350 MOTOR VEHICLE        [ ] 371 TRUTH IN LENDING                                                                               (RICO)
            STUDENT LOANS     [ ] 355 MOTOR VEHICLE                                      [ ] 840 TRADEMARK                                               [ ] 480 CONSUMER CREDIT
            (EXCL VETERANS)            PRODUCT LIABILITY                                                                 SOCIAL SECURITY
                                                                                                                                                         [ ] 485 TELEPHONE CONSUMER
[ ] 153     RECOVERY OF       [ ] 360 OTHER PERSONAL
            OVERPAYMENT                INJURY               [ ] 380 OTHER PERSONAL                                       [ ] 861 HIA (1395ff)                    PROTECTION ACT
                                                                                         LABOR
            OF VETERAN'S       [ ] 362 PERSONAL INJURY -             PROPERTY DAMAGE                                     [ ] 862 BLACK LUNG (923)
            BENEFITS                   MED MALPRACTICE      [ ] 385 PROPERTY DAMAGE      [ ] 710 FAIR LABOR              [ ] 863 DIWC/DIWW (405(g))      [ ] 490 CABLE/SATELLITE TV
[ ] 160     STOCKHOLDERS                                             PRODUCT LIABILITY             STANDARDS ACT         [ ] 864 SSID TITLE XVI          [ ] 850 SECURITIES/
            SUITS                                                                        [ ] 720 LABOR/MGMT              [ ] 865 RSI (405(g))                     COMMODITIES/
[ ] 190     OTHER                                           PRISONER PETITIONS                     RELATIONS                                                      EXCHANGE
            CONTRACT                                        [ ] 463 ALIEN DETAINEE       [ ] 740 RAILWAY LABOR ACT                                       [ ] 890 OTHER STATUTORY
[ ] 195     CONTRACT                                        [ ] 510 MOTIONS TO           [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS
                                                                                                                                                                  ACTIONS
            PRODUCT           ACTIONS UNDER STATUTES                 VACATE SENTENCE     LEAVE ACT (FMLA)
            LIABILITY                                                28 USC 2255                                      [ ] 870 TAXES (U.S. Plaintiff or   [ ] 891 AGRICULTURAL ACTS
[ ] 196 FRANCHISE             CIVIL RIGHTS                  [ ] 530 HABEAS CORPUS        [ ] 790 OTHER LABOR                   Defendant)                [ ] 893 ENVIRONMENTAL
                                                            [ ] 535 DEATH PENALTY                 LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                            [ ] 540 MANDAMUS & OTHER     [ ] 791 EMPL RET INC                  26 USC 7609               [ ] 895 FREEDOM OF
                              [ ] 440 OTHER CIVIL RIGHTS
                                                                                                  SECURITY ACT (ERISA)                                            INFORMATION ACT
                                      (Non-Prisoner)
REAL PROPERTY                                                                                                                                            [ ] 896 ARBITRATION
                              [ ] 441 VOTING                                          IMMIGRATION                                                        [ ] 899 ADMINISTRATIVE
[ ] 210      LAND             [ ] 442 EMPLOYMENT            PRISONER CIVIL RIGHTS
             CONDEMNATION     [ ] 443 HOUSING/                                                                                                              PROCEDURE ACT/REVIEW OR
                                                                                      [ ] 462 NATURALIZATION
[ ] 220      FORECLOSURE                ACCOMMODATIONS [ ] 550 CIVIL RIGHTS                    APPLICATION                                                  APPEAL OF AGENCY DECISION
[ ] 230      RENT LEASE &     [ ] 445 AMERICANS WITH        [ ] 555 PRISON CONDITION  [ ] 465 OTHER IMMIGRATION                                           [ ] 950 CONSTITUTIONALITY OF
             EJECTMENT                  DISABILITIES -      [ ] 560 CIVIL DETAINEE             ACTIONS
                                        EMPLOYMENT                                                                                                        STATE STATUTES
[ ] 240      TORTS TO LAND                                     CONDITIONS OF CONFINEMENT
[ ] 245      TORT PRODUCT      [ ] 446 AMERICANS WITH
             LIABILITY                  DISABILITIES -OTHER
[ ] 290      ALL OTHER          [ ] 448 EDUCATION
             REAL PROPERTY




          Check if demanded in complaint:
                                                   DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
   CHECK IF THIS IS A CLASS ACTION                 AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
   UNDER F.R.C.P. 23                               IF SO, STATE:
                                Injunction; Attorneys' Fees
DEMAND $______________ OTHER _____________________ JUDGE __________________________ DOCKET NUMBER_________________

Check YES only if demanded in complaint
JURY DEMAND:              YES       NO                               NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                   Case
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(PLACE AN x IN ONE BOX ONLY)                                                   ORIGIN
❑x 1 Original            2 Removed from                3 Remanded          4 Reinstated or          5 Transferred from        6 Multidistrict
                                                                                                                                Litigation
                                                                                                                                                          7 Appeal to District
                                                                                                                                                            Judge from
      Proceeding           State Court                   from                Reopened                   (Specify District)
                                                                                                                                 (Transferred)               Magistrate Judge
                                                         Appellate
                          a. all parties represented     Court
                                                                                                                              8 Multidistrict Litigation (Direct File)
                          b. At least one party
                              is pro se.
(PLACE AN x IN ONE BOX ONLY)                                         BASIS OF JURISDICTION                                             IF DIVERSITY, INDICATE
   1 U.S. PLAINTIFF          2 U.S. DEFENDANT           x 3 FEDERAL QUESTION        El4 DIVERSITY                                      CITIZENSHIP BELOW.
                                                              (U.S. NOT A PARTY)

                               CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
       (Place an [X] in one box for Plaintiff and one box for Defendant)

                              PTF    DEF                                                     PTF DEF                                                           PTF       DEF
CITIZEN OF THIS STATE         [ ]1   [ ]1      CITIZEN OR SUBJECT OF A                       [ ]3[ ]3         INCORPORATED and PRINCIPAL PLACE                 [ ]5      [ ]5
                                                FOREIGN COUNTRY                                               OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE      [ ]2   [ ]2      INCORPORATED or PRINCIPAL PLACE               [ ]4[ ]4         FOREIGN NATION                                   [ ]6      [ ]6
                                                OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
J. Mark Lane, Larchmont, NY 10538 (Westchester County)
James Sears, Irving NY 10533 (Westchester County)




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

Letitia James, in her official capacity as Attorney General of the State of New York, Office of the Attorney General, The Capitol, Albany, NY 12224

Steven E. Nigrelli, in his official capacity as Superintendent of the New York State Police, 1220 Washington Avenue, Building 22, Albany, NY 12226

Miriam E. Rocah, in her official capacity as District Attorney for the County of Westchester, New York, 111 Dr. Martin Luther King, Jr. Blvd., White Plains,
New York 10601

DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                                 COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:      THIS ACTION SHOULD BE ASSIGNED TO:                              ❑x WHITE PLAINS                              ❑ MANHATTAN
DATE 12/30/2022            /s/ Nicolas J. Rotsko                                                    ADMITTED TO PRACTICE IN THIS DISTRICT
                              SIGNATURE OF ATTORNEY OF RECORD                                       [ ] NO
                                                                                                    [ x] YES (DATE ADMITTED Mo.11
                                                                                                                                _______ Yr. 2022
                                                                                                                                            _______)
RECEIPT #                                                                                           Attorney Bar Code # 4964169


Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge _________________________________________________________ is so Designated.

Ruby J. Krajick, Clerk of Court by _____________ Deputy Clerk, DATED _____________________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
